       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Joseph Altiro Turner
        v. Commonwealth of Virginia
        Record No. 0352-13-1
        Opinion rendered by Judge Huff on
         May 20, 2014

    2. Tyquan Deonta Fagan
        v. Commonwealth of Virginia
        Record No. 1184-13-1
        Opinion rendered by Judge McCullough on
        May 20, 2014

    3. George E. Boone, a/k/a George Edward Boone, Jr.
        v. Commonwealth of Virginia
        Record No. 1510-13-2
        Opinion rendered by Judge Humphreys on
        May 20, 2014

    4. Robert Wayne Dawson, II
        v. Commonwealth of Virginia
        Record No. 1226-13-2
        Opinion rendered by Judge Humphreys on
        May 27, 2014

    5. Preston McKellar
        v. Northrop Grumman Shipbuilding Inc., Huntington Ingalls Industries, Incorporated and
        Huntington Ingalls, Incorporated
       Record No. 2231-13-1
       Opinion rendered by Judge Huff on
        May 27, 2014

    6. Tony Williams
        v. Commonwealth of Virginia
        Record No. 1730-13-1
        Opinion rendered by Judge Beales on
        June 10, 2014
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Mark Farewell
   v. Commonwealth of Virginia
   Record No. 1572-12-2
   Opinion rendered by Judge Huff
    on October 12, 2013
   Refused (132030)

2. Traveyan Lee Chambliss
   v. Commonwealth of Virginia
   Record No. 0983-12-2
   Opinion rendered by Judge Huff
     on October 22, 2013
   Refused (131821)

3. Larwan Badru Bonner
   v. Commonwealth of Virginia
   Record No. 0565-11-2
   Opinion rendered by Judge Humphreys
    on December 11, 2012
   Refused (131324)

4. Andrew Jacobs
   v. Commonwealth of Virginia
   Record No. 2447-11-4
   Opinion rendered by Judge Beales
    on March 12, 2013
   Refused (130621)

5. Edward Hines Sigler
   v. Commonwealth of Virginia
   Record No. 0822-12-1
   Opinion rendered by Judge Frank
     on April 2, 2013
    Refused (130736)

6. Richard Douglas Thomas, Jr.
   v. Commonwealth of Virginia
   Record No. 0217-12-1
   Opinion rendered by Judge Kelsey
     on May 28, 2013
   Refused (131006)

7. Dwayne A. Farmer
   v. Commonwealth of Virginia
   Record No. 1389-12-1
   Opinion rendered by Judge Beales
    on August 13, 2013
   Refused (131317)
8. Ceon Maurice Fauntleroy
   v. Commonwealth of Virginia
   Record No. 1084-12-1
   Opinion rendered by Judge Beales
    on July 30, 2013
   Refused (131361)

9. Demetrie Lamont Watkins
   v. Commonwealth of Virginia
   Record No. 1124-12-1
   Opinion rendered by Judge Alston
    on August 6, 2013
   Refused (131382)

10. Michael Tyrone Morgan
   v. Commonwealth of Virginia
   Record No. 1408-11-1
   Opinion rendered by Judge Clements
     on October 23, 2012
    Refused (121990)
